Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 1 of 12 PageID 6688



                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


                                    CASE NO.    8:02-CR-Ill-T-17MAP

 GREGORY G . SCHULTZ,
 et al.,
            Defendant (s).



                                    ORDER

       This cause is before the Court on:

       Dkt. 937 Motion for Acquittal and Discharge
       Dkt. 938 Motion for Acquittal
       Dkt. 939 Motion for Acquittal
       Dkt. 952 Response

       Defendants Cuciniello, Tyrrell and Sinibaldi have moved for
 judgments of acquittal and for discharge.         The United States of
 Americas has filed a response which concedes that the Motions
 should be granted as to certain counts, and objects to the
 Motions as to other counts.       The Second Superseding Indictment
  (Dkt. 577) in this case contains 38 separate counts.


 I.   Standard of Review


        In a motion for judgment of acquittal, the evidence at
 trial must be viewed in the light most favorable to the
 government, with all reasonable inferences and credibility
 choices made in the government's favor.         See    United States v.
 Keller, 916 F.2d 628, 632 (llihCir. IggO), cert. denied, 499
 U.S. 978 (1981). The evidence need not exclude every reasonable
 hypothesis of innocence or be wholly inconsistent with every
 conclusion except guilt.       A jury is free to choose among
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 2 of 12 PageID 6689



 Case No. 8:02-CR-111-T-17MAP
 reasonable constructions of the evidence.         See United States v.
 Os~ina,823 F.2d 429, 433 ( l l t h
                                  cir. l987), cert. denied, 085
 U.S. 964 (1988).

  I.    Defendant Cuciniello


        As to Defendant Cuciniello, the United States of America
  concedes that the evidence presented is insufficient to sustain a
 conviction as to Counts 4, 6, 21 and 24.

       The United States of America argues that as to the remaining
  counts sufficient evidence has been presented for denial of
  Defendant's Motion.


      After consideration of the documentary evidence and the
 testimony of witnesses at trial, the Court finds that there is a
 wealth of evidence justifying the denial of Defendant's Motion
  for Acquittal on the remaining counts of the Second Superseding
  Indictment.


         The Court grants Defendant Cuciniello's Motion for Acquittal
  (Dkt. 937) as to Counts 4, 6, 21 and 24, and denies the Motion as
  to the remaining Counts.


  11.    Defendant Tyrrell


       As to Defendant Tyrrell, the United States of America
  concedes that insufficient evidence has been presented to sustain
  a conviction as to Counts 2, 4, 6, 7, 8, 9, 10, 11, 12, 13, 14,
  21, 24, 25, 26, 27, 28, 29, 30 and 31.
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 3 of 12 PageID 6690



 Case No. 8:02-CR-111-T-17MAP
      The United States of America argues that as to the remaining
 counts, sufficient evidence has been presented to sustain a
 conviction.


       At oral argument, Defendant Tyrrell argued that there is a
 complete lack of evidence that Defendant Tyrrell knew of the
 illegal nature of any conduct at the time it was engaged in, and
 a complete lack of evidence that Defendant Tyrrell willfully
 joined in the conduct.      Defendant Tyrell relies on U.S. v.
 Parker, 839 F.2d 1473 (ll-hCir. 1988).


      To support a conspiracy conviction, the government must
 prove: 1) an agreement to commit an unlawful act and 2) an overt
 act by one of the conspirators in furtherance of the conspiracy.
 Conspiracy to defraud may be inferred from the actions of the
 actors or by the circumstantial evidence of a scheme. The
 evidence must be sufficient to establish a meeting of the minds
 to commit an unlawful act.


       The Court has reviewed the trial testimony of Robert M.
 Phillips, who describes how Defendant Tyrrell became associated
 with Stonehedge Group.      Robert M. Phillips testified:


       1. That Robert Phillips entered into a contractual
       relationship with Stonehedge Group, and had a group of
       associates who sold Stonehedge products;

       2.   That he earned an override on what his associates sold.

       3. That even though his override was called a referral
       fee, Robert Phillips knew it was a commission.
       4. That both Gregory Schultz and Joe Cuciniello
       instructed him not to use the term "commission."
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 4 of 12 PageID 6691



 Case No. 8:02-CR-111-T-17MAP
       5. That Phillips's override resulted in a total
       "referral fee" of 25% to 27% on each purchase;

       6. That shares of Stonehedge Group were also issued
       to Robert Phillips to compensate him;

       8. that after Joe Cuciniello complained of lost
       business opportunities in Fall, 1998 due to lack funds,
       Phillips attempted to recruit "master contractors," and
       recruited Gene Tyrrell;

       9. That Gene Tyrrell entered into a contractual
       relationship with Stonehedge similar to that of Robert
       Phillips;

       10. that Gene Tyrrell played the same role that Robert
       Phillips did, but on a much larger scale.
       11. That monthly revenues increased from 30,000 or
       50,000 per month to 1,000,000 per month after Gene
       Tyrrell contracted with Stonehedge.

       12. That both Robert Phillips and Gene Tyrrell
       appeared at seminars, and Gene Tyrrell placed ads to
       recruit additional agents.

       13. That Gene Tyrrell put together a training manual
       covering all aspects of sales, which was encyclopedic
       in nature.

       14. That Gene Tyrell was described in the seminar
       literature as trained in all aspects of the IPO
       program, including contracting questions, marketing
       fees, recruiting seminars, tax issues and sales.

       15. That in early Fall, 1999, there was an inquiry by
       the SEC which was handled by Gregory Schultz, which did
       not result in a cease and desist order being issued;

       16. That thereafter the Comptroller's office sent
       questionnaires to all agents;
       17. That after the entry of the TRO in Florida on
       October 27, 1999, Gene Tyrrell continued to do business
       and to pay Robert Phillips overrides for a period of
       time, since his business was not conducted in Florida.
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 5 of 12 PageID 6692



 Case No. 8:02-CR-111-T-17MAP
        In this case there is no direct evidence that Defendant
 Tyrrell knowingly joined a fraudulent scheme.          However, a
 conspiracy by its nature is secretive and requires the finder of
 fact to infer its existence from the surrounding circumstances.
 Defendant Tyrrell never made a sale, but he knowingly collected
 overrides from agents he recruited who did, and those commissions
 were in excess of what the offering documents stated.           Defendant
 Tyrrell continued to do business after the State of Florida
 intervened.    The Court concludes that this case is more like U.S
 v. Simon, 839 F.2d 1461 (11'" Cir. 1988) than U.S. v. Parker,
 suDra. It is not necessary to prove that each defendant knew all
 of the details or participated in every aspect of the charged
 conspiracy. Once the existence of a conspiracy is established,
 only slight evidence is necessary to connect a particular
 defendant to the conspiracy. After considering the documentary
 evidence and the testimony of witnesses, the Court finds that
 there is sufficient evidence to deny the Motion for Judgment of
 Acquittal as to the remaining Counts.


        The Court grants Defendant Tyrrell's Motion for Acquittal
 (Dkt. 938) as to Counts 2, 4, 6, 7, 8, 9, 10, 11, 12, 13, 14, 21,
 24, 25, 26, 27, 28, 29, 30, 31, and denies the Motion as to the
 remaining Counts.


 111.    Defendant Sinibaldi

      As to Defendant Sinibaldi, the United States of America
 concedes that there is insufficient evidence to sustain a
 conviction as to counts 4, 6 and 21.
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 6 of 12 PageID 6693



 Case No. 8:02-CR-111-T-17MAP
       The United States of America argues that there is sufficient
 evidence to sustain a conviction as to the remaining counts of
 the Second Superseding Indictment.

       Defendant Sinibaldi argues that the United States has not
 presented evidence sufficient to prove knowing and willful intent
 to do something the law forbids, has not proven specific intent
 to defraud, has not provided sufficient evidence to support a
 conviction that an agreement to achieve an unlawful objective
 existed, and that Defendant Sinibaldi knew about and voluntarily
 participated in the conspiracy or that Defendant Sinibaldi
 committed an overt act in furtherance of the conspiracy.
 Defendant Sinibaldi also argues that there is insufficient
 evidence to sustain a conviction for mail fraud as to numerous
 individual investors, and for sale of unregistered securities.


       The Court recalls that Defendant Sinibaldi's statement of
 August 6, 1999 was presented during the trial.          In the statement,
 Defendant Sinibaldi denied ever receiving commissions or finders
 fees (Exh. AR, p. 18).      Defendant Sinibaldi stated that he did
 financial consulting and financial reviews, as well as marketing
 work related to Investors Business Journal. As an independent
 entity, Delta Financial, Defendant Sinibaldi did consulting work
 for Millennium.     Defendant Sinibaldi denied that money that he
 received was based on the amount of sales (p. 24). Defendant
 Sinibaldi represented that he was paid on a "per project" basis,
 based on verbal agreements with Gregory Schultz.

      Defendant Sinibaldi further testified that he was on the
 Executive Committee of Millennium Investment, Inc. and Millennium
 Investment, Inc. Trust, and had set up a local bank account (p.
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 7 of 12 PageID 6694



 Case No. 8:02-CR-111-T-17MAP
 35) for Millennium Investment, Inc.  Defendant Sinibaldi was
 authorized to disburse money from the account with telephone
 authorization from Gregory Schultz.

        Defendant Sinibaldi denied that he offered or sold
 promissory notes in Millennium. He admitted providing
 individuals, including friends, relatives and prior customers,
 with offering papers and memoranda on behalf of Millennium.
 Defendant Sinibaldi contended that he conducted informative
 seminars regarding estate planning (p. 31).

        During his statement, Defendant Sinibaldi testified that,
 being a member of the Executive Committee, he knew that
 Millennium gave investors self-addressed, stamped envelopes with
 the documents Millennium sent out, and it was standard procedure
 for investors to return documents and forms to Millennium by mail
 (pp. 50, 51).

      Defendant Sinibaldi testified that even though he was a
 member of the Executive Committee of both Millennium entities, he
 did not know which entity was liable to the investors for the
 note money (p. 53), could not explain the difference between the
 two entities (p. 54), and did not know the functional differences
 between the two entities.

        In his statement, Defendant Sinibaldi further explained that
 he left offering documents with his customers, and then would
 return and fill out the papers in their presence, while asking
 them questions. Defendant Sinibaldi further denied that he was
 the agent representing Millennium Investment, Inc. Trust (p. 60,
 61).    Defendant Sinibaldi stated several times that he was not an
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 8 of 12 PageID 6695



 Case No. 8:02-CR-111-T-17MAP
 agent, but was a member of the Executive Committee.           In his
 capacity as member of the Executive Committee, Millennium sent
 courtesy copies of letters relating to his customers to him (p.
 67). Defendant Sinibaldi specifically denied selling Millennium
 products (p. 7 0 ) , but only offered materials relating to
 Millennium products to his customers.


       In this statement, Defendant Sinibaldi denied any knowledge
 as to the Millennium investment of Mrs. Kelly Lavis, although a
 letter to Gregory Schultz from Mrs. Lavis dated May, 1999 states
 "Dean A. Sinibaldi sold me the investment and assured me under no
 uncertain terms that my investment was safe and backed by the
 Bank of Bermuda, Ltd." (p. 74).   The Court recalls that Mrs.
 Lavis testified during the trial as to her investment in
 Millennium through Defendant Sinibaldi.

       In his statement, Defendant Sinibaldi stated that he knew
 Gregory Schultz for seven years (p. 78), and he knew that the
 integrity of Mr. Schultz was very high, so he did not need to
 check his background.


       Defendant Sinibaldi specifically denied any regular stream
 of payments from Millennium to Delta or Delta to Millennium (pp.
 85, 86). Defendant Sinibaldi asserts that he had done marketing
 work for companies such as Hydro-grow, Biogenetics and CNG. He
 also stated he did consulting work on Beverly Hills Limited and
 Progressive Telecommunications, and was paid for marketing and
 financial records and reviews (p. 87). Defendant Sinibaldi
 denied that he had any formal training in finance and accounting,
 but analyzed the financial statements without such training, in
 meetings with Gregory Schultz.
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 9 of 12 PageID 6696



 Case No. 8:02-CR-111-T-17MAP
      At the close of the statement, Defendant Sinibaldi again
 denied that he was paid a commission or finders fee or any fee
 whatsoever for the sale of Millennium products to his customers
 (P. 89).

       The Court has also reviewed the Deposition of Dean A.
 Sinibaldi, which was taken in the Pinellas County Circuit Court
 case (Exh. BR) , on May 8, 2000.

      The Court notes that Defendant Sinibaldi did not complete
 high school or college. Defendant Sinibaldi testified that he
 has sold cars, managed appliance stores, and has sold annuities,
 life insurance and health insurance since 1984.            Defendant
 Sinibaldi testified that his work for Millennium involved
 performing due diligence on the companies Millennium intended to
 take public. He testified that he went to different entities,
 looked at their financial records and the operation of the
 businesses, and spent time with Mr. Schultz making
 recommendations of his own opinion as to the companies.
 Defendant Sinibaldi testified that he was paid on a "per project"
 basis and part of his contract with Millennium was bringing
 investors to Millennium ( p . 56). Defendant Sinibaldi testified
 that he was well paid for his work in connection with performing
 due diligence, and he "didn't want to be greedy" by collecting a
 commission for investments in Millennium (p. 57).           Defendant
 Sinibaldi further testified that he bought stock in a Beverly
 Hills Limited, Hydrogrow, Biogenetics and Progressive
 Telecommunications, companies in the        Millennium portfolio.
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 10 of 12 PageID 6697



 Case No. 8:02-CR-111-T-17MAP
 A.   Conspiracy

       To support a conspiracy conviction, the government must
 prove: 1) an agreement to commit an unlawful act and 2) an overt
 act by one of the conspirators in furtherance of the conspiracy.
 See U.S. v. Parker, 839 F.2d 1473 (llthCir. 1988). Conspiracy
 to defraud may be inferred from the actions of the actors or by
 the circumstantial evidence of a scheme. The evidence must be
 sufficient to establish a meeting of the minds to commit an
 unlawful act.


       After considering the testimony of witnesses and the
  documentary evidence in the light most favorable to the
  Government, the Court concludes that there is sufficient evidence
  to support a conviction for conspiracy.

       Defendant Sinibaldi denies that he sold Millennium
  investments. Various investors testified that Defendant
  Sinibaldi sold them Millennium investments.         Defendant Sinibaldi
  testified that he was highly compensated for performing due
  diligence, work that he is not qualified to perform by education
  or experience.    He denied receiving commissions for sale of
  Millennium investments.  The jury could infer guilty knowledge
  based on Defendant Sinibaldi's denial of his role as an agent of
  Millennium. Defendant Sinibaldi's statement reveals inside
  information connecting Defendant Sinibaldi to Millennium. It is
  not necessary to prove that knew all of the details or
  participated in every aspect of the charged conspiracy. Once the
  existence of a conspiracy is established, only slight evidence is
  necessary to connect a particular defendant to the conspiracy.
  After consideration, the Court concludes that there is abundant
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 11 of 12 PageID 6698



  Case No. 8:02-CR-111-T-17MkP
  evidence connecting Defendant Sinibaldi to the conspiracy.

  B.   Mail Fraud


        To support a conviction for mail fraud, the government must
  prove: 1) participation in a scheme to defraud, and 2) that the
  actor connected with the scheme used or caused use of the mails
  in furtherance of the scheme.    See U.S. v. Haimowitz, 725 F.2d
  1561, 1568-69 (llthCir. ) , cert. denied, 469 U.S. 1072 (1984).


        The Court notes that in the evidence before the Court, the
  files of some individual investors contain mailing envelopes with
  postmarks attached to various documents.         The Court has already
  found that there is sufficient evidence linking Defendant
  Sinibaldi to the charged conspiracy.        In his statement, Defendant
  Sinibaldi testified that it was "standard operating procedure"
  for Millennium to communicate with investors using the mail (Exh.
  AR, pp. 50, 51).     After consideration, the Court finds that there
  is sufficient evidence to sustain a conviction for mail fraud.


  C.   Other Counts


        The Court has found that there is sufficient evidence of
  Defendant Sinibaldi's knowing and willful participation in a
  scheme to defraud to sustain a conviction as to conspiracy and
  mail fraud.    The remaining counts of the Second Superseding
  Indictment involve aspects of the charged conspiracy.           The same
  evidence of knowledge and willful participation suffices as to
  the remaining counts.   After consideration of the testimony of
  witnesses and the documentary evidence, and viewing that evidence
  in the light most favorable to the Government, the Court finds
Case 8:02-cr-00111-CEH-J_S Document 958 Filed 04/18/05 Page 12 of 12 PageID 6699



  Case No. 8:02-CR-111-T-17MAP
  that there is sufficient evidence to sustain a conviction for the
  other Counts of the Second Superseding Indictment.


        The Court g r a n t s the Motion for Acquittal (Dkt. 939) as to
  Counts 4, 6 and 21, and d e n i e s the Motion for Acquittal as to the
  remaining Counts.         Accordingly, it is


        ORDERED    that:


         1.   Defendant Cuciniello's Motion for Acquittal and
  Discharge (Dkt. 937) is g r a n t e d as to Counts 4, 6, 21 and 24, and
  otherwise d e n i e d .


         2.   Defendant Tyrrell's Motion for Acquittal (Dkt. 938) is
  g r a n t e d as to Counts 2, 4, 6, 7, 8, 9, 10, 11, 12, 13, 14, 21,
  24, 25, 26, 27, 28, 29, 30, 31 and otherwise d e n i e d .


         3.   Defendant Sinibaldi's Motion for Acquittal (Dkt. 939) is
  g r a n t e d as to Counts 4, 6, and 21, and otherwise d e n i e d .


        DONE a n d ORDERED     in Chambers, in Tampa, Florida on this
  18th day of April, 2005.
                                             .
                                             L




  Copies to:
  All parties and counsel of recor
